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 5
     Attorney for Defendant, JOSE JESUS VILLA
 6
 7
 8                      IN THE UNITED STATES DISTRICT COURT FOR THE
 9                            EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,  )         CASE NO. 06-00418 LJO
                                )
12             Plaintiff,       )
                                )         STIPULATION AND ORDER EXTENDING
13   vs.                        )         THE TIME FOR DEFENDANT TO
                                )         SELF SURRENDER
14   JOSE JESUS VILLA           )
                                )
15             Defendants.      )
     ___________________________)         Judge: Honorable Lawrence J. O’Neill
16
17           IT IS HEREBY STIPULATED by and between the parties that the
18   self surrender date for Defendant, JOSE JESUS VILLA, currently set
19   for December 4, 2008 at 2:00 p.m., be continued to December 12,
20   2008 at 2:00 p.m.
21           Good cause exists for this request because for unknown
22   reasons, the Defendant did not receive timely notice of his
23   designated prison, which is at Reeves Correction Institution in
24   Pecos, Texas.         The Judgment contained a court recommendation for
25   Lompoc, California.         The United States Marshall’s Office has
26   suggested that the Defendant file this request for a one week
27   extension of time so that the Defendant may self surrender
28   directly to Reeves C.I. facility.         The Defendant’s church support


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 1   group will be able to provide for the Defendant’s transportation
 2   if a one week extension is granted.
 3            The United States Attorney’s office is not opposed to this
 4   request.
 5
 6
     DATED: December 2, 2008             /s/ Eric K. Fogderude
 7                                       ERIC K. FOGDERUDE, Attorney for
                                         Defendant JOSE JESUS VILLA
 8
 9
     DATED: December 2, 2008              /s/ Laurel Montoya
10                                       Laurel Montoya
                                         Assistant U.S. Attorney
11
12
13                                        ORDER
14
              The Court has received the requested Stipulation and finds
15
     that good cause exists for the request to extend Defendant’s
16
     surrender date to December 12, 2008, at 2:00 p.m, at the Reeves
17
     Correction Institution in Pecos, Texas.
18
19
     IT IS SO ORDERED.
20
     Dated:     December 2, 2008            /s/ Lawrence J. O'Neill
21   b9ed48                             UNITED STATES DISTRICT JUDGE
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